      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 1 of 23 PageID# 3068



                            IN THE UNITED STATES DISTRICT COURT FOR THE

                                       EASTERN DISTRICT OF VIRGINIA

                                                 Alexandria Division


      UNITED STATES OF AMERICA                         )
                                                       )        CASE NO. 1:18-CR-83-TSE
                                 v.                    )
                                                       )        Trial Date: July 31, 2018
      PAUL J. MANAFORT, JR.,                           )
                                                       )        The Honorable T. S. Ellis, III
                                                       )
                                 Defendant.            )


                                GOVERNMENT'S FIRST AMENDED EXHIBIT LIST

              The United States of America, by and through undersigned counsel, hereby submits its

      list of trial exhibits.



Ex.
                                              Description                                    Obj. Off’d Adm.
No.
1A       Photograph – 1046 N Edgewood Street, Arlington, VA
1B       Photograph – 29 Howard Street, New York, NY
1C       Photograph – 377 Union Street, Brooklyn, NY
1D       Photograph – 601 N Fairfax Street, Alexandria, VA
1E       Photograph – 174 Jobs Lane, Bridgehampton, NY
2A       Immunity Order – D. Raico
2B       Immunity Order – J. Brennan
2C       Immunity Order – D. Duggan
2D       Immunity Order – C. O'Brien
2E       Immunity Order – C. Laporta
2F       Plea Agreement – R. Gates
 3       2005.10.24 Consulting Agreement
 4       2009.07.01 Consulting Agreement
         2006.01.03 Memo P. Manafort, T. Devine, V. Yanukovych et al re
5
         Messages for January Next Wave of Television and Radio Ads
6        Devine Mulvey Longabaugh Invoices to Davis Manafort (2010, 2014)
7        2010.02.03 Email T. Devine to P. Manafort re Election Night Speech


                                                            1
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 2 of 23 PageID# 3069



Ex.
                                      Description                                   Obj. Off’d Adm.
No.
 8      2010.02.15 Email T. Devine to P. Manafort et al re Job Well Done
 9      2010.02.16 Email T. Devine to P. Manafort re FYI
10      2010.08.12 Memo P. Manafort to V. Yanukovych et al re another memo
        2010.09.01 Email T. Devine to P. Manafort, R. Gates et al re Talking
11
        Points
        2011.09.20 Email Chain D. Rabin, J. Mulvey, P. Manafort, R. Gates, K.
12
        Kilimnik, T. Devine et al re Ukraine - First Draft
13      2012.04.02 Email Chain T. Devine, R. Gates, P. Manafort et al re Ukraine
14      2012.08.06 Email T. Devine to P. Manafort re Memo
15      2014.03.31 Email T. Devine to R. Gates et al re Call - Important
16      2014.03.31 Email T. Devine to R. Gates et al re Draft Proposal
17      2014.06.09 Email T. Devine to R. Gates et al re Kyiv
18      2014.06.16 Email T. Devine to K. Kilimnik, R. Gates et al re Ukraine Trip
        2014.06.19 Email T. Devine to K. Kilimnik re Can u resend the talking
19      points
        2010.07.12 Memo Devine Mulvey Longabaugh & Rabin Strasberg to
20
        Davis Manafort Partners re 2010 Message Strategy and Proposal
        2010.06.30 Email Chain P. Manafort, T. Devine, D. Rabin, R. Gates, K.
21A
        Kilimnik et al re Local election program
21B     2010.08.10 Email P. Manafort to T. Devine, D. Rabin re First TV spot
        2010.10.04 Email Chain P. Manafort, A. Strasberg, D. Rabin, K. Kilimnik
21C
        re brochures
        2014.04.29 Email Chain P. Manafort, D. Rabin, K. Kilimnik, R. Gates re
21D
        Campaign TPs and Events
        2015.09.23 Email P. Manafort to K. Kilimnik, D. Rabin, V. Stepanov, R.
21E
        Gates re Media Buy
22      2010.09.09 Chart re Every Level V4
23      2010.09.28 Invoice Rabin Strasberg to Davis Manafort Partners
24      2010.10.15 Invoice Rabin Strasberg to Davis Manafort Partners
        2012.04.16 Memo D. Rabin, A. Strasberg to P. Manafort, R. Gates re
25
        Ukraine Media
        2012.04.19 Memo D. Rabin, A. Strasberg to K. Kilimnik, P. Manafort, R.
26
        Gates re Meeting Agenda
27      2012.04.24 Memo D. Rabin, A. Strasberg to P. Manafort re Kyiv Meetings
        2012.05.02 Email Chain K. Kilimnik, V. Tolmach, P. Manafort, A.
28
        Strasberg, T. Fabrizio, D. Rabin, R. Gates re Euro 2012 Scripts
        2012.06.29 Memo D. Rabin, A. Strasberg to P. Manafort re New film crew
29
        recommendations
 30     2012.10.23 Invoice D. Rabin to DMP International
 31     2014.04.18 Invoice D. Rabin to DMP International
 32     2014.05.12 Invoice D. Rabin to DMP International
33A     Photograph – V. Yanukovych #1

                                                    2
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 3 of 23 PageID# 3070



Ex.
                                     Description                                 Obj. Off’d Adm.
No.
33B     Photograph – V. Yanukovych #2
33C     Photograph – V. Yanukovych #3
 34     2017.06.27 DMP International FARA Filing
34A     2017.06.27 DMP International FARA Filing Certificate of Authenticity
 35     2015.06.23 Peranova Loan Forgiveness Letter
        2016.03.08 Signed Banc of California Personal Financial Statement and
36
        Loan Application
37      2017.01.13 First Nationwide Title Disbursement Statement
38      Genesis Capital Documents
39      MC Brooklyn Holdings Ledger
40      2013.01.15 VY Agenda
        2013.04.05 Memo P. Manafort to S. Lyovochkin re PR Effort this week in
41
        Kyiv
42      2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants
        2013.04.25 Memo P. Manafort to S. Lyovochkin re Summary of Overdue
43
        Accounts
44      2014.09 Ukraine OB Campaign Strategy Powerpoint
45      2014.09.24 OB Daily Talking Points
46      2014.10.07 Memo P. Manafort to Campaign HQ re OB Campaign Leaflets
47      Memo re May 17 Rallies
48      2010.03.01 Sensoryphile Invoice for $20,000
49      Big Picture Solutions Invoice
50      Big Picture Solutions Bill of Materials
        2011.11.08 Signed SP&C Home Improvement Renovation Proposal for
51
        174 Jobs Lane
        2012.02.16 Signed SP&C Home Improvement Renovation Proposal for 29
52
        Howard St
53      2013.03.01 SP&C Proposal for 83 Whooping Hollow Road
54      SP&C Home Improvement Proposal for 174 Jobs Lane
55      Photographs – Clothing with Alan Couture Labels
56      Photographs – Clothing with House of Bijan Labels
57      Photographs – House of Bijan Watch
58      J&J Oriental Rug Gallery Documents
59      2007.02.14 P. Manafort Cyprus, Berlin, & Kiev Trip Itinerary
        2010.02.16 Memo P. Manafort to V. Yanukovych re Professional Team –
59A
        Bonuses
        2010.02.22 Memo P. Manafort to V. Yanukovych re Wire Transfer Details
59B
        for Personal Bonuses
59C     P. Manafort Contact List
59D     Memo to P. Ayliff, R. Gates et al re 2012 estimates
60A     2016 Season New York Yankees Account


                                                   3
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 4 of 23 PageID# 3071



Ex.
                                     Description                                  Obj. Off’d Adm.
No.
60B     Ukraine Documents
60C     Party of Regions Advance and Training
        Residential Lease Agreement, Request for Tax Transcripts, Mercedes Benz
60D
        Records, and Authorization Forms
 60E    Ukrainian Strategy Memos
  61    Foreign Entities Chart
 62A    [Intentionally Left Blank]
 62B    [Intentionally Left Blank]
 62C    United Kingdom Incorporation Documents
  63    Foreign Bank Accounts
 64A    [Intentionally Left Blank]
 64B    [Intentionally Left Blank]
 64C    Bank Records – United Kingdom
 65A    Chart – Aegis Holdings Payments
65A1    Seacoast Bank Records for Aegis Holdings
 65B    Chart – Alan Couture Payments
65B1    Emails Leviathan (Alan Couture)
 65C    Chart – Big Picture Solutions Payments
65C1    2011.11.22 Email - Global Highway (Big Picture)
 65D    Chart – Federal Stone & Brick Payments
 65E    Chart – House of Bijan Payments
65E1    Emails Global Highway and Leviathan (House of Bijan)
 65F    Chart – J&J Oriental Rug Gallery Payments
 65G    Chart – Land Rover of Alexandria Motors Payments
65G1    Wells Fargo Bank Records for Land Rover of Alexandria
 65H    Chart – Mercedes Benz of Alexandria Payments
 65I    Chart – New Leaf Landscape Payments
 65I1   2011.12.05 Email - Leviathan (New Leaf)
 65J    Chart – Sabatello Construction Payments
65J1    Anchor Bank Records for Sabatello Construction
65J2    2011.12.20 Email - Black Sea View (Sabatello)
 65K    Chart – Scott Wilson Landscaping Payments
65K1    Bridgehampton National Bank Records for Scott Wilson Landscaping
65K2    2010.10.05 Email - Global Highway (Scott Wilson)
 65L    Chart – Sensoryphile Payments
65L1    2010.07.28 Email - Leviathan (Sensoryphile)
65M     Chart – SP&C Home Improvement Payments
65M1    Emails – Yiakora, Global Highway and Leviathan (SP&C)
 66A    Cyprus Incorporation Documents
 66B    Eurobank Documents

                                                   4
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 5 of 23 PageID# 3072



Ex.
                                     Description                                Obj. Off’d Adm.
No.
66C     Hellenic Bank Documents
66D     Bank of Cyprus Documents
66E     Bank of Cyprus Documents
66F     Accounting Records
66G     Hellenic Bank Documents
67A     St. Vincent and the Grenadines Documents
67B     St. Vincent and the Grenadines Documents
67C     St. Vincent and the Grenadines Documents
 68     Chart – Property Overview
69A     Payment Flow Chart for 29 Howard St Property
69B     Payment Flow Chart for 1046 N Edgewood St Property
69C     Payment Flow Chart for 377 Union St Property
        First Republic Bank Accounts XXXXXXX6573 and XXXXXXX7373 for
70A
        Jesand
70B     First Republic Bank/Pershing Account XXXXXXX5358 for J. Manafort
70C     First Republic Bank Account XXXXXXX6524 for DMP International
70D     First Republic Bank Account XXXXXXX9730 for P. and K. Manafort
70E     First Republic Bank Account XXXXXXX5868 for MC Soho
 71     TD Bank Trust Account XXXXXX5374 for B. Baldinger
 72     Chart – Vendor and Property Payments From Foreign Bank Accounts
73A     FBAR Chart for 2010
73B     FBAR Chart for 2011
73C     FBAR Chart for 2012
73D     FBAR Chart for 2013
73E     FBAR Chart for 2014
        Deposit Analysis – Foreign Source of Funds Received by Foreign
74
        Accounts
75      Chart – P. Manafort Summary of Tax Returns
        Summary of Foreign Wires to Third Party Vendors for the Benefit of P.
76
        Manafort
 77     Chart – P. Manafort Reported Personal Income
 78     Chart – Analysis of Foreign Bank Accounts
78A     Non-Vendor Payments Allowed
 79     Chart – Selected Transactions
 80     Chart – FARA Analysis
        2012.11.19 Email Chain D. DeLuca to P. Manafort, A. Manafort, J.
81
        Browning re Contract
        2012.10.26 Email P. Manafort to D. DeLuca re Manafort Project,
82
        Edgewood St, Arlington, VA
83      Draft of Pergola


                                                   5
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 6 of 23 PageID# 3073



Ex.
                                   Description                                Obj. Off’d Adm.
No.
 84  Photograph – Backyard
 85  Photograph – Pergola
85A  Photograph – Outdoor Kitchen
 86  Federal Stone and Brick Bank Records
     2013.05.29 Email Chain P. Manafort, D. Browning., D. DeLuca re Invoice
  87
     from Federal Stone and Brick
  88 2012.08.21 Check from A. Manafort to McEnearney
  89 2012.08.21 Sales Contract for 1046 N. Edgewood St, Arlington, VA
  90 2012.08.31 A. Manafort Landtech Receipt
     2012.09.01 Email W. Holland to L. Flynn, P. Manafort re 1046 N.
  91
     Edgewood St
  92 2012.09.10 Settlement Statement
  93 Chart – Purchase of 1046 N. Edgewood St, Arlington, VA
  94 Vendor Chart – SP&C
 94A SP&C Home Improvement Invoices (2010-2014)
 95A SP&C Home Improvement Bank Records
 95B SP&C Home Improvement Bank Records
 95C SP&C Home Improvement Bank Records
 96A Photograph – Backyard
 96B Photograph – Basement
 96C Photograph – Front of House
 96D Photograph – Kitchen
 96E Photograph – Side of House (1)
 96F Photograph – Side of House (2)
 96G Photograph – Waterfall Pond
  97 Vendor Chart – Alan Couture
 97A Alan Couture Invoices (2010-2014)
 97B Alan Couture Invoices (2010)
  98 Alan Couture Bank Records
  99 2011.03.21 Email P. Manafort to M. Katzman re update
 100 2013.08.27 Email M. Katzman to P. Manafort re Statement 7-23-13
 101 2014.03.24 Email M. Katzman to R. Gates re Wire transfers
 102 Vendor Chart – Big Picture Solutions
102A Big Picture Solutions Invoices (2011-2014)
102B Big Picture Solutions Bank Records (2011 - 2013)
102C Big Picture Solutions Bank Records (2013-2014)
 103 Vendor Chart – Mercedes Benz of Alexandria
103A 2012.10.01 Invoice for K. Manafort Purchase of Mercedes Benz SL550
     2012.10.01 Buyers Order for K. Manafort Purchase of Mercedes Benz
103B
     SL550


                                                 6
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 7 of 23 PageID# 3074



Ex.
                                     Description                               Obj. Off’d Adm.
No.
104     Photographs – Mercedes Benz owned by P. Manafort
105     2012.10.01 K. Manafort Promissory Note for Mercedes Benz SL550
        2012.10.05 $62,750 Wire Transfer from Lucicle Consultants Limited to
106
        Mercedes Benz of Alexandria
106A    2012 Mercedes Benz of Alexandria Bank Statement and Wire Transfer
 107    Vendor Chart – New Leaf Landscape
107A    New Leaf Landscape Invoices (2010-2014)
108A    Photograph – Bridgehampton Driveway
108B    Photograph – Bridgehampton Pond
108C    Photograph – Bridgehampton Side of House
108D    Photograph – Bridgehampton Pergola
108E    Photograph – Bridgehampton Pool House
108F    Photograph – Bridgehampton Golf Hole
 109    New Leaf Landscape Bank Records
 110    2012.06.21 Proposal
 111    Vendor Chart – House of Bijan
111A    House of Bijan Invoices (2010-2012)
 112    House of Bijan Bank Records
 113    2014.10.15 New York Yankees Ticket Agreement
113A    New York Yankees Manafort Payment Schedule
        2011.11.28 Email D. Saltmarsh to R. Barre, N. Pizzutello re FW 2012
114
        renewal payment
114A    2011.11.23 New York Yankees Bank Record
        2016.03.22 Email P. Manafort to D. Fox re Yankees Season Ticket
115     Licensee News
115A    2016 New York Yankees Premium Suite Statement
 116    2017.04.03 Email P. Manafort to D. Fox re Yankees 2017
 117    FinCEN Certifications
 118    Airbnb 29 Howard St Active Listing Days
 119    Airbnb 29 Howard St Listings
 120    Airbnb 29 Howard St Reservations
121A    2011 Davis Manafort Partners General Ledger
121B    2011 Davis Manafort Partners Financial Statements
121C    2011 P. Manafort and K. Manafort General Ledger
121D    2011 DMP International General Ledger
121E    2011 DMP International Financial Statements
122A    2012 DMP International General Ledger
122B    2012 DMP International Financial Statements
122C    2012 P. Manafort and K. Manafort General Ledger
123A    2013 DMP International General Ledger

                                                   7
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 8 of 23 PageID# 3075



 Ex.
                                      Description                                   Obj. Off’d Adm.
 No.
123B    2013 DMP International Financial Statements
123C    2013 P. Manafort and K. Manafort Financial Statements
124A    2014 DMP International General Ledger
124B    2014 DMP International Financial Statements
124C    2014 P. Manafort and K. Manafort Financial Statements
125A    2015 DMP International General Ledger
125B    2015 DMP International Financial Statements
125C    2015 P. Manafort and K. Manafort Financial Statements
126A    2016 DMP International General Ledger
126B    2016.07.31 DMP International 2016 YTD P&L
126C    2016.11.30 DMP International 2016 YTD Financial Statement
126D    2016 DMP International Financial Statement
126E    [Intentionally Left Blank]
126F    2016 P. Manafort and K. Manafort Financial Statements
        2015.02.05 Email Chain J. Manafort, K. Manafort, P. Ayliff, H. Washkuhn
127
        re MC Soho
        2015.02.24 Email Chain H. Washkuhn, C. O'Brien, P. Ayliff, R. Gates et al
128
        re DMP International
        2015.04.13 Email Chain H. Washkuhn, P. Ayliff, C. O'Brien, R. Gates et al
129
        re DMP International
        2015.08.26 Email Chain L. Tanner, C. O'Brien, H. Washkuhn re DMP
130
        International LLC
        2015.12.01 Email Chain J. Yohai, H. Washkuhn, J. Manafort, P. Manafort
131
        re Howard St December Rent
        2015.12.31 Email Chain H. Washkuhn, P. Manafort, R. Gates, C. Laporta,
132
        P. Ayliff re Time Sensitive - Collection of Information
        2016 01.06 Email Chain H. Washkuhn, P. Manafort re Bills Through
133
        1.15.16
134     2016.01.07 Email Chain P. Manafort, R. Gates, H. Washkuhn re Transfer
135     2016.01.29 Email Chain R. Gates, H. Washkuhn re Transfer - Urgent
        2016.02.22 Email Chain D. Duggan, H. Washkuhn, J. Yohai, P. Manafort
136     et al re Evidence of Insurance; Declarations Page; Invoice attached - 377
        Union Street
        2016.02.24 Email R. Gates to M. Francis, P. Manafort, H. Washkuhn re
137     Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter Street -
        Declarations - NO Mortgagee listed both
        2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
138
        IMPT (#1)
        2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
139
        IMPT (#2)
140     2016.03.16 Email H. Washkuhn to R. Gates re 2015 P&L IMPT



                                                    8
      Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 9 of 23 PageID# 3076



Ex.
                                     Description                                  Obj. Off’d Adm.
No.
     2016.04.04 Email J. Yohai to P. Manafort and H. Washkuhn re Selene
141
     Finance Invoices
     2016.05.24 Email Chain H. Washkuhn, R. Gates, P. Manafort re Funds
 142
     URGENT
     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
 143
     Travelers Auto Cancellation - J. Manafort - invoice attached
     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
 144
     Travelers Auto Cancellation - J. Manafort - invoice attached
     2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
 145
     Manafort re Documents needed for Loan
     2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, P. Manafort, C.
 146
     Laporta re Documents needed for Loan
     2016.04.21 Email Chain R. Gates, P. Manafort, H. Washkuhn re DMP
 147
     Open Invoices
     2016.12.20 Email Chain R. Gates, H. Washkuhn, P. Manafort re NKSFB
 148
     Fee
     2017.01.04 Email Chain, H. Washkuhn, D. Raico, C. Laporta et al re
 149
     Financials for P. Manafort
149A 2015 MC Soho General Ledger
 150 2011 Davis Manafort Partners Ledger Report
 151 2012.12.31 MAN001-07 DMP International
 152 KWC Tax Organizers for P. Manafort (2012-2014)
 153 KWC Engagement Letters (2012-2016)
     2014.08.26 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
 154
     Paul's pending matters
     2014.09.02 Email Chain R. Gates, P. Ayliff, C. O'Brien, C. Laporta re
 155
     Union Street
     2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
 156
     NYC Property LLCs
     2015.08.26 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
 157
     Pending Items
     2015.09.15 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re Call
 158
     Me
 159 2015.09.16 Email R. Gates to C. Laporta re DMP International, LLC
 160 2015.09.16 Email C. Laporta to R. Gates re Loan doc?
     2015.12.31 Email P. Manafort to H. Washkuhn re Time Sensitive -
 161
     Collection of Information
     2016.01.07 Email C. Laporta to D. Fallarino, P. Manafort re PJM CPA
 162
     FIRM - Account Manager Details - C. Laporta
     2016.02.04 Email Chain C. Laporta, D. Fallarino, M. Francis, R. Gates, P.
 163
     Manafort re DMP Int'l Income Question
 164 2016.02.05 Email C. Laporta to R. Gates re Manafort #XXXXX5212
 165 2016.02.08 Email R. Gates to C. Laporta re Letter

                                                   9
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 10 of 23 PageID# 3077



Ex.
                                    Description                                   Obj. Off’d Adm.
No.
166   2016.02.08 Email R. Gates to C. Laporta re Letter
167   2016.02.09 Email R. Gates to C. Laporta re Letter
      2016.02.24 Email Chain C. Laporta, M. Francis, D. Fallarino, R. Gates, P.
168
      Manafort re Manafort #XXXXX5212
      2016.03.15 Email Chain C. Laporta, P. Manafort, R. Gates re 377 Union St
169
      Construction Loan
170   2016.03.25 DMP International Ledger Report re Peranova
      2016.04.05 Email Chain C. Laporta, C. O'Brien, R. Gates re DMP
171
      International Questions
172   2016.04.12 Email R. Gates to C. O'Brien re Pending Questions
173   2016.05.02 Email R. Gates to C. Laporta re Letter
      2016.05.16 Email Chain C. Laporta, D. Fallarino, R. Gates re Manafort
174
      Items Needed
175   2016.08.11 Email C. Laporta to P. Manafort re 377 Union St loan
      2016.08.11 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
176
      Washkuhn re Documents needed for Loan
      2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, C. Laporta, P.
177
      Manafort re Documents needed for Loan
      2016.09.04 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
178
      Paul's tax returns - more questions
179   2016.09.13 Email P. Manafort to R. Gates re Updates - DMP
180   2016.09.14 Email Chain R. Gates, P. Ayliff, C. Laporta re Updates - DMP
      2016.10.04 Email Chain C. Laporta, T. Von Traer, P. Ayliff re Paul
181
      Manafort's pending matters
182   2016.10.06 Email Chain C. Laporta, P. Manafort, R. Gates re up to date?
      2016.10.07 Email C. Laporta to P. Manafort re Lola Partners, LLC and
183
      draft gift tax returns
      2016.12.28 Email Chain C. Laporta, R. Gates, H. Washkuhn, D. Raico re
184
      Financial Needed Asap
185   2014 Adjusted Journal Entry Report
186   DMP International 2014 1099-MISC Form
187   DMP International Funds Due to Peranova
188   2012 MC Soho General Ledger
189   2015.09.15 DMP International Ledger Report – Telmar Investments
190   DMP International Ledger Reports – Peranova Entries
191   KWC Manafort Tax Returns Chart
192   2011.09.09 Peranova Loan Agreement
193   TB-01 - Adjusted Trial Balance (2014)
194   TB-01 - Adjusted Trial Balance (2015)
195   2015.09.15 Email R. Gates to C. Laporta re Forms
      2009.09.09 Email Chain N. Lakkis, P. Ayliff, P. Manafort, D. Walters re
196
      LOAV

                                                  10
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 11 of 23 PageID# 3078



Ex.
                                    Description                                   Obj. Off’d Adm.
No.
      2011.03.24 Email P. Manafort to M. Chrysostomides re Transfers from
197
      Leviathan
198   2011.08.21 Email P. Ayliff to P. Manafort re 2010 Taxes
      2011.10.04 Email Chain P. Ayliff, N. Lakkis, P. Manafort re 2010 tax
199
      filing
200   2011.11.29 Email Chain P. Manafort to R. Gates re Payments
      2012.06.29 Email Chain R. Gates, N. Lakkis, D. Walters, N. Lakkis re
201
      Foreign Accounts
      2012.09.06 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
202   International, LLC tax return - DUE 9.17.12
      2012.09.16 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
203
      FINAL FINAL Questions
204   2012.10.14 P. Manafort Signed IRS Form 8879
205   2013.02.05 Shipment from KWC to P. Manafort
      2013.06.24 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
206
      Foreign account report due 6.30.13
      2014.08.29 Email P. Ayliff to R. Gates, C. O'Brien re Paul unidentified
207
      transaction
      2013.09.13 Email P. Ayliff to C. O'Brien re Paul's tax return questions -
208
      including 3rd qtr est - due 9/16
      2014.09.04 Email R. Gates to P. Ayliff re Paul's tax returns - more
209
      questions
      2014.09.14 Email Chain H. Washkuhn, P. Ayliff, C. Laporta, R. Gates, L.
210
      Tanner re MC Soho Holdings
      2014.12.07 Email Chain P. Ayliff, C O'Brien, C. Laporta re Call with
211
      Gates - for the 2014 file
212   2015.01.08 Email From P. Manafort to P. Ayliff re - UBS Mortgage
      2015.02.05 Email Chain P. Manafort, J. Manafort, J. Yohai, K. Manafort,
213
      P. Ayliff, H. Washkuhn re MC Soho
      2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
214
      NYC Property LLCs
      2016.03.16 Email Chain P. Ayliff, N. Zeien, R. Gates, H. Washkuhn, C.
215
      O'Brien, C. Laporta re DMP International - Open Items
      2016.10.03 Email Chain P. Manafort, C. Laporta, R. Gates, P. Ayliff re P.
216
      Manafort's pending matters
217   Selected KWC Invoices Manafort-Related Entities
      2015.09.11 Email Chain C. O'Brien, C. Laporta, P. Ayliff, H. Washkuhn,
218
      R. Gates re DMP Sports Tickets
      2015.09.15 Email from C. O'Brien to R. Gates cc C. Laporta, P. Ayliff re
219   DMP Loan
      2015.10.07 Email Chain R. Gates, C. O'Brien re Paul's 1040
220



                                                  11
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 12 of 23 PageID# 3079



Ex.
                                     Description                                   Obj. Off’d Adm.
No.
      2016.04.05 Email Chain R. Gates, C. O'Brien, C. Laporta re DMP
221
      International Questions
      2016.04.15 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
222
      Pending Questions
      2015.12.24 Email Chain P. Manafort, D. Fallarino re 27 Howard Street Re-
223
      fi
      2016.01.15 Email Chain D. Fallarino, M. Francis, J. Del Bene re Citizens
224
      Bank, N.A. Package Submitted (Loan Number XXXXX3998)
      2016.01.21 Email Chain P. Manafort, M. Francis, D. Fallarino re Next
225
      Steps
226   2016.01.21 Email P. Manafort to M. Francis re Part One
227   2016.01.26 Initial Loan Documents
      2016.01.27 Email P. Manafort to M. Francis re Remaining Docs - Howard
228
      Mortgage
229   2016.02.02 Email P. Manafort to M. Francis re Use of Cash Memo
      2016.05.02 Email Chain D. Fallarino, P. Manafort, C. Laporta, R. Gates, J.
230
      Yohai re Primary Residence Letter - Union St
      2016.02.09 Email Chain D. Fallarino, P. Manafort, M. Francis re DMP Int'l
231
      Income question
      2016.02.12 Email Chain M. Guadron, D. Fallarino, T. Rodriguez re
232
      Manafort #XXXXX5212
      2016.02.17 Log Entry Email P. Miceli, M. Guadron, D. Fallarino, M.
233
      Francis re ATP submitted Loan XXXXX5212 - Manafort, P.
      2016.08.11 Email Chain C. Laporta, P. Manafort, D. Fallarino, H.
234
      Washkuhn et al re Paul & DMP International
      2016.02.21 Email Chain M. Francis, P. Manafort, H. Washkuhn, R. Gates,
235
      D. Fallarino re final document request
      2016.02.23 Email M. Francis to D. Duggan re manafort morgagee clause
236
      update
      2016.02.23 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
237
      re Final Document Request
      2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
238
      update
      2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
239   update
      2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
240
      re Final Document Request
      2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
241
      re Final Document Request
      2016.02.24 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
242   re Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter
      Street - Declarations - NO Mortgagee listed both



                                                   12
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 13 of 23 PageID# 3080



Ex.
                                    Description                                   Obj. Off’d Adm.
No.
      2016.02.17 Email Chain P. Miceli , D. Fallarino, M. Guadron re Secret
243
      Exception Request Submission [Manafort/0024625212]
      2016.02.24 Email M. Francis to J. Dos Santos re Manafort Additional
244
      conditions
245   2016.03.04 29 Howard St Signed 1003 Form ($2,730,000 Conventional)
246   2016.03.04 29 Howard St Signed 1003 Form ($682,500 HELOC)
247   2016.03.04 29 Howard St Closing Documents
      2016.04.25 Email Chain P. Manafort, R. Gates, J. Yohai, D. Fallarino, C.
248
      Laporta, T. Rodriguez, H. Washkuhn re 377 Union St Construction Loan
      2016.05.04 Email Chain P. Manafort, D. Fallarino, T. Rodriguez re KWC
249
      Letter
      2016.05.02 Letter P. Manafort to D. Fallarino
250
      2016.05.06 Email Chain P. Manafort, D. Fallarino, R. Gates. T. Rodriguez
251
      re Primary Residence Letter - Union St
      2016.05.09 Email Chain T. Rodriguez, J. Yohai, D. Fallarino, P. Manafort
252
      re 377 Union St Consruction Loan
      2016.03.16 Email Chain P. Manafort, R. Gates, C. Laporta re 377 Union St
253
      Consruction Loan
      2016.05.17 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
254
      Rodriguez re Manafort Items Needed
255   2016.07.13 377 Union St Uniform Residential Loan Application
      2016.08.09 Email Chain T. Rodriguez, D. Fallarino, P. Miceli, M. Guadron
256
      re Manafort - OMG
      2016.08.16 Email T. Rodriguez to D. Fallarino re Manafort file
257
      2017.08.17 Email Chain D. Fallarino, A. Howey, T. Rodriguez, M. Francis
258
      re Manafort #002789869
      2016.02.09 Email Chain D. Duggan, S. Belleau, J .Yohai, P. Manafort Re
259
      Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St
      2016.02.22 Email Chain D. Duggan, H. Washkuhn, P. Manafort, J. Yohai
260
      re Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St
      2016.02.23 Email D. Duggan to H. Washkuhn re Manafort Insurance
261
      Requests
      2016.02.24 Email D. Duggan to R. Gates re Manafort Chubb Insurance
262   Properties - 377 Union St & 123 Baxter Street - Declarations - NO
      Mortgagee listed both
263   2016.02.24 Email D. Duggan to R. Gates re Call
264   Moody Insurance Client Log
      2016.07.28 Email S. Calk to D. Raico et al re Revised Portfolio Summary -
265
      P. Manafort and J. Yohai
      2016.08.02 Email Chain C. Laporta, A. Ivakhnik, D. Raico, P. Manafort,
266
      R. Gates, H. Washkuhn re Documents Needed for Loan

                                                  13
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 14 of 23 PageID# 3081



Ex.
                                    Description                                  Obj. Off’d Adm.
No.
      2016.08.03 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
267
      Washkuhn re Documents Needed for Loan
268   2016.08.03 Email D. Raico to P. Manafort re Need S. Calk Resume
269   2016.08.04 Email P. Manafort to S. Calk re S. Calk- Professional Bio
      2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
270
      Manafort re Documents needed for Loan
271   D. Raico Journal
272   2016.08.09 Email A. Ivakhnik to D. Raico et al re New Appraisal Order
273   2016.08.11 Notice Titled Mortgage Fraud is Investigated by the FBI
      2016.08.16 Email Chain A. Ivakhnik, T. Horn, D. Raico re 2013 P.
274
      Manafort's tax returns
      2016.09.13 Email Chain T. Horn, J. Ubarri, J. Norini, J. Brennan re
275
      Manafort
      2016.10.05 Email D. Raico to J. Ubarri re Manafort/Yohai and M. Bello
276
      files - update post S. Calk meeting
      2016.10.07 Email Chain S. Calk, P. Manafort, D. Raico re Closing on
277
      Nottingham & Bridgehampton Loans
      2016.10.11 Email Chain T. Horn, D. Raico, P. Manafort, C. Laporta, J.
278
      Brennan re My 2015 Tax Return - FINAL Draft
      2016.10.19 Email Chain J. Brennan, J. Ubarri, P. Manafort, D. Raico, B.
279
      Baldinger, J. Yohai re Restructure framework of Loan Agreement
      2016.10.19 Email P. Manafort to B. Baldinger, D. Raico, J. Yohai re
280
      Restructure framework of Loan Agreement
      2016.10.20 Email Chain D. Raico, P. Manafort, B. Baldinger, J. Yohai re
281
      Restructure framework of Loan Agreement
282   2016.10.21 Email P. Manafort to D. Raico re DMP P&L Sept 2016
      2016.10.21 Email Chain D. Raico, E. Cholakis, P. Manafort re DMP P&L
283
      Sept 2016
284   2016.10.21 Email Chain D. Raico, J. Ubarri, J. Brennan re Manafort loan
      2016.10.26 Email Chain C. Laporta, P. Manafort, D. Raico, J. Yohai, B.
285
      Baldinger, H. Washkuhn re Hampton Refinance - Deliverables Update
      2016.10.26 Email Chain T. Horn, D. Raico, J. Brennan et al re Manafort
286
      Review - compared both files too
287   2016.10.28 Signed Uniform Residential Loan Application Bridgehampton
288   2016.10.28 Undisclosed Debt Acknowledgement
289   2016.11.01 377 Union St Uniform Residential Loan Application
      2016.11.08 Email Chain V. Bartholomew, D. Raico, S. Miller, A. Sparks re
290
      Request for supporting documentation - Mr. P. Manafort/Loan #XXX3572
      2016.12.07 Email D. Raico to J. Brennan re Moving forward with
291
      Manafort's Brooklyn property
292   2016.12.07 Email S. Calk to D. Raico re Nervousness is setting in
293   2017.01.05 377 Union St Loan Memorandum


                                                  14
  Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 15 of 23 PageID# 3082



Ex.
                                    Description                                   Obj. Off’d Adm.
No.
294   2016.08.11 2401 Nottingham Uniform Residential Loan Application
295   2016.12.07 Email S. Calk to P. Manafort, D. Raico re Updates?
296   2016.03.09 Banc of California Loan Application
297   2016.03.10 Email P. Manafort to P. Kaufman re Schedule of Real Estate
      2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re
298
      Manafort BTRs
      2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re
299
      Response
300   2016.03.23 Email P. Manafort to P. Kaufman, J. Yohai re K. Manafort PFS
      2016.03.23 Email Chain J. Yohai, P. Manafort, R. Gates, P. Kaufman, K.
301
      LaPorte re Manafort Yohai information
      2016.05.05 Email Chain S. Bently, T. Quick, G. Seferian, P. Kaufman, K.
302
      LaPorte et al re Baylor Holdings
303   2016.05.09 Credit Approval Memorandum
304   2016.03.16 Email Chain J. Yohai, P. Manafort, R. Gates re STATUS
305   2016.05.11 Business Loan Agreement
306   2016.05.11 Commercial Guaranty
307   2016.03.11 377 Union St Title Search
      2016.07.13 Email Chain K. LaPorte, T. Holmes, G. Seferian et al re Baylor
308
      Holding, LLC
      2016.09.08 Memo K. LaPorte to File, G. Seferian, P. Alexander re Meeting
309
      with P. Manafort and J. Yohai
310   2017.03.23 Handwritten Notes
311   2017.06.27 Forbearance Agreement
312   Handwritten Notes on Chart
313   2016.02.08 P. Manafort Borrower's Affidavit
314   2016.02.09 377 Union St Building Loan Agreement
315   2016.02.09 Evidence of Property Insurance
316   2016.02.09 P. Manafort Borrower's Affidavit
317   2016.02.09 P. Manafort Guarantee
318   2016.02.09 P. Manafort Guarantee
319   2016.02.23 Recorded Building Loan Mortgage and Security Agreement
      2016.02.23 Recorded Mortgage, Assignment of Leases and Rents and
320
      Security Agreement
      2016.09.02 Email Chain J. Day, B. Baldinger, J. Yohai re M. Solow
321
      communications
      2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Filed Notice of
322
      Pendency
      2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Served Notice
323
      of Pendency
      2017.01.23 Genesis Capital v. MC Brooklyn et al Affirmation Canceling
324
      Notice of Pendency

                                                  15
   Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 16 of 23 PageID# 3083



Ex.
                                  Description                            Obj. Off’d Adm.
No.
       P. Manafort American Express Bank Records for Account No. XXXX-
325A
       XXXXXXX-3007
       P. Manafort American Express Bank Records for Account No. XXXX-
325B
       XXXXXXX-5007, 2016-17
       P. Manafort American Express Bank Records for Account No. XXXX-
325C
       XXXXXXX-6002, 2016
       R. Gates American Express Bank Records for Account No. XXXX-
326
       XXXXXXX-3003
 327   Aegis Holdings Stipulation
327A   Aegis Holdings Stipulation Exhibit
 328   First Nationwide Title Stipulation
328A   First Nationwide Title Stipulation Exhibits
 329   J&J Oriental Rug Gallery Stipulation
329A   J&J Oriental Rug Gallery Stipulation Exhibits
 330   Kensington Vanguard Stipulation
330A   Kensington Vanguard Stipulation Exhibits
 331   Land, Carroll & Blair Stipulation
331A   Land, Carroll & Blair Stipulation Exhibits
 332   Land Rover of Alexandria Stipulation
332A   Land Rover of Alexandria Stipulation Exhibits
 333   Mercedes Benz of Alexandria Stipulation
333A   Mercedes Benz of Alexandria Stipulation Exhibit
 334   Sabatello Construction Stipulation
334A   Sabatello Construction Stipulation Exhibits
 335   Scott Wilson Landscaping Stipulation
335A   Scott Wilson Landscaping Stipulation Exhibit
 336   Sensoryphile Stipulation
336A   Sensoryphile Stipulation Exhibits
 337   Tax Returns Stipulation
337A   1040 Paul J. Manafort 2010 (certified)
337B   1040 Paul J. Manafort 2011 (certified)
337C   1040 Paul J. Manafort 2012 (certified)
337D   1040 Paul J. Manafort 2013 (certified)
337E   1040 Paul J. Manafort 2014 (certified)
337F   1065 DMP International 2011 (certified)
337G   1065 DMP International 2012 (certified)
337H   1065 DMP International 2013 (certified)
337I   1065 DMP International 2014 (certified)
337J   1065 MC Brooklyn 2012-2014 (lack of records)
337K   1065 MC Soho 2012-2014 (lack of records)


                                                16
   Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 17 of 23 PageID# 3084



 Ex.
                                     Description                                  Obj. Off’d Adm.
 No.
337L   1065 MC Soho 2015 (certified)
337M   1065 MC Soho 2016 (certified)
337N   1120S Davis Manafort Partners 2010 (certified)
337O   1120S Davis Manafort Partners 2011 (certified)
337P   1120S Davis Manafort Partners 2012-2014 (lack of records)
337Q   1065 John Hannah 2010 (certified)
337R   1065 John Hannah 2011 (certified)
337S   1065 John Hannah 2012 (certified)
337T   1065 John Hannah 2013 (certified)
337U   1065 John Hannah 2014 (certified)
338A   R. Gates 2009 Passport
338B   R. Gates 2011 Passport
338C   R. Gates 2013 Passport
 339   2016.11.24 Email P. Manafort to R. Gates re DOD Service secretaries
       2010.02.20 Memo P. Manafort to V. Yanukovych re Launch of Public
340
       Affairs Plan
341    2012.04.08 Memo P. Manafort to V. Yanukovych re AC Project - Update
       2012.06.04 Email Chain P. Manafort, K. Kilimnik, R. Gates re ST
342
       documents
343    2012.06.19 Memo P. Manafort to AK re Polling Project - Update
       2012.07.12 Email K. Kilimnik to P. Manafort, R. Gates re EI Outreach -
344
       International Plan
       2012.07.13 Email K. Kilimnik to P. Manafort, R. Gates re Demidko
345
       documents - Party program
       2012.10.06 Email P. Manafort to K. Kilimnik, R. Gates, D. Rabin et al re
346
       Memo on campaign Status
       2013.02.04 Memo P. Manafort to V. Yanukovych re US Government
347
       Activity
       2013.02.19 Memo P. Manafort to V. Yanukovych re US Government
348
       Update
349    2013.02.21 Memo P. Manafort to V. Yanukovych re Hapsburg - Update
350    [Intentionally Left Blank]
       Memo P. Manafort to BVK, S. Lyovochkin re Campaign budget for
351
       national and regional TV, radio advertising
       2014.10.29 Memo P. Manafort to S. Lyovochkin, R. Akhmetov re
352
       Roadmap for November - December 2014
353    DMP International Consulting Agreement
       2010.01.31 Memo P. Manafort to V. Yanukovych et al re Final Week -
354
       Strategy, Tactics and Messages
355    2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus
356    2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus


                                                   17
    Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 18 of 23 PageID# 3085



Ex.
                                    Description                                 Obj. Off’d Adm.
No.
357  2010.04.06 Memo P. Manafort to K. Kilimnik re SL Staff Meeting
358  2010.04.09 Memo P. Manafort to V. Yanukovych re Goals of US Trip
     2011.10.11 Memo P. Manafort to V. Yanukovych and S. Lyovochkin re
 359
     Consulting Payments
360A 2010.05.01 Leviathan and Telmar Consultancy Agreement
360B 2011.11.01 Peranova and Telmar Consultancy Agreement
360C 2012.04.01 Black Sea and Dresler Consultancy Agreement
360D 2012.06.01 Black Sea and Telmar Consultancy Agreement
360E 2012.06.05 Black Sea and Dresler Consultancy Agreement
360F 2014.03.01 DMP International and Telmar Consultancy Agreement
360G 2014.05.15 DMP International and Telmar Consultancy Agreement
 361 2013.09.20 Email A. Damianou to R. Gates re Yiakora
     2014.01.24 Email C. Nicolaou to R. Gates, G. Ioannou re
 362
     Payments/Transfers
 363 2015.07.10 Email R. Gates to K. Kilimnik re Contract for 1
 364 2015.08.25 Email K. Kilimnik to R. Gates re Contract for 1
 365 2015.08.28 Email Chain P. Manafort, R. Gates, K. Kilimnik re FYI
 366 Invoice DMP International to Opposition Bloc Party
 367 2014.03.19 Email A. Damianou to R. Gates re Serangon Holdings Limited
 368 2014.05.02 Email A. Damianou to R. Gates re Cyprus Companies
 369 [Intentionally Left Blank]
 370 2011.11.29 Email Chain P. Manafort, R. Gates re Payments
 371 [Intentionally Left Blank]
 372 2013.03.21 R. Gates Agenda
     2014.12.13 Email Chain R. Gates, P. Manafort re con call this morning -
 373
     around 800 am
     2013.09.11 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
 374
     International
 375 2015.04.17 Email Chain R. Gates, P. Manafort re Tax - Extensions
     2015.08.31 Email Chain H. Washkuhn, E. Paik, L. Tanner, R. Gates re
 376
     Income
     2016.03.16 Email P. Manafort to R. Gates re 377 Union St Consruction
 377
     Loan
     2016.09.13 Email Chain H. Washkuhn, R. Gates, L. Tanner re Manafort
 378
     related entities - due by 9.15
     2016.07.26 Email Chain H. Washkuhn, R. Gates re DMP Funding
 379
380    2016.01.06 Email P. Manafort to R. Gates re VIP TIME SENSITIVE
381    2012.08.10 Email R. Gates to V. Weber, T. Podesta re Question
382    2012.10.09 Memo P. Manafort to S. Lyovochkin re Translation Expenses



                                                  18
    Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 19 of 23 PageID# 3086



Ex.
                                    Description                                 Obj. Off’d Adm.
No.
     2013.03.23 Memo P. Manafort to S. Lyovochkin re US Consultants
383
     Activity - Weekly Update
 384 2016.02.24 Email Chain R. Gates, P. Manafort re Update
 385 [Intentionally Left Blank]
 386 [Intentionally Left Blank]
 387 [Intentionally Left Blank]
 388 2016.02.08 Email Chain P. Manafort, R. Gates re Letter
 389 2016.02.08 Email R. Gates to P. Manafort re Letter
 390 [Intentionally Left Blank]
 391 2016.03.16 Email Chain R. Gates, P. Manafort, J. Yohai re needs
 392 2016.03.16 Email Chain P. Manafort, R. Gates re Responses
     2016.01.14 Email Chain P. Manafort, R. Gates, Yankees Premium re
 393
     Important 2016 Ticket License Balance Due
     2016.01.23 Email Chain R. Gates, P. Manafort, D. Fox re Updated Contact
 394
     Information
     2016.01.26 Email Chain P. Manafort, R. Gates, D. Fox re Please Reply "I
 395
     authorize this payment"
 396 2016.01.26 Email Chain R. Gates, P. Manafort re 2 things
 397 [Intentionally Left Blank]
     2016.03.15 Email R. Gates, P. Manafort, C. Laporta re 377 Union St
 398
     Consruction Loan
 399 [Intentionally Left Blank]
     2016.03.22 Email Chain P. Manafort, D. Fallarino, R. Gates re 377 Union
 400
     St Consruction Loan
     2016.05.01 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
 401
     Rodriguez re 377 Union St Consruction Loan
 402 [Intentionally Left Blank]
     2016.05.06 Email Chain P. Manafort, R. Gates, D. Fallarino, T. Rodriguez
 403
     re Primary Residence Letter - Union St
 404 [Intentionally Left Blank]
 405 2016.10.21 Email Chain P. Manafort, R. Gates, H. Washkuhn re 2016 P&L
 406 2016.10.21 Email P. Manafort to R. Gates re pls convert
 407 2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
 408 2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
 409 2016.10.21 Email P. Manafort to R. Gates re AGENDA
 410 [Intentionally Left Blank]
 411 2016.10.21 Email R. Gates to P. Manafort re pls convert
412A P. Manafort 2008-2018 Passport
412B P. Manafort 2012-2014 Passport
412C [Intentionally Left Blank]
 413 2016.01.01 - 2017.07.25 P. Manafort AT&T Phone Records


                                                  19
   Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 20 of 23 PageID# 3087



Ex.
                                     Description                                   Obj. Off’d Adm.
No.
414    2010.06.01 Email P. Manafort to K. Kilimnik re Q and A for VY
       2010.06.02 Email P. Manafort to K. Kilimnik re Press and Diplomatic
415
       Package
416    2011.11.29 Email Chain P. Manafort, R. Gates re Payments
       2012.07.14 Email Chain P. Manafort, D. Rabin, T. Fabrizio, B. Ward, K.
417    Kilimnik, R. Gates, V. Stepanov re testimonials, Accomplishments,
       schedule
       2014.05.24 Email P. Manafort to K. Kilimnik cc R. Gates re Organization
418
       of Package of documents
       2014.08.25 Email Chain P. Manafort, N. Azzam, T. Barry, R. Joyce re
419
       Mortgage Rates
420    2015.09.25 Email Chain P. Manafort, R. Gates re update
421    2012.10.15 Monday Agenda
422    2016.01.26 Email P. Manafort to J. Yohai re Howard St Appraisal
       2016.02.09 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re
423
       Lease for 5th Ave property
       2016.02.11 Email Chain P. Manafort, R. Gates, D. Fallarino, M. Francis re
424
       Letter of Forgiveness
425    2016.02.12 Email P. Manafort to J. Yohai re Citizens Loan - Howard St
       2016.02.16 Email Chain P. Manafort, R. Gates, K. Mazzocco, T. Barry, H.
426
       Washkuhn re Personal and DMP bills
427    2016.02.17 Email Chain P. Manafort, R. Gates re My signature
       2016.02.24 Email P. Manafort to D. Fallarino re 2 issues re Union St and
428
       Baxter St
       2016.02.26 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re
429
       Success
430    2016.03.09 Email R. Gates to P. Manafort re Personal Finance Statement
431    2016.03.10 Email P. Kaufman to P. Manafort re Schedule of Real Estate
       2016.03.22 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, C.
432
       Laporta re 377 Union St Consruction Loan
433    2016.08.04 Email Chain S. Calk, P. Manafort re S. Calk- Professional Bio
434    2016.08.15 Email J. Wetzel to P. Manafort re Scan
       2016.10.26 Email Chain J. Yohai, P. Manafort, J. Yohai, D. Raico re
435
       Hampton Refinance - Deliverables Update
436A   Alan Couture Certificate of Authenticity
436B   Rabin Strasberg Certificate of Authenticity
436C   Devine Mulvey Longabaugh Certificate of Authenticity #1
436D   Devine Mulvey Longabaugh Certificate of Authenticity #2
436E   Federal Stone & Brick Certificate of Authenticity
436F   New York Yankees Certificate of Authenticity
436G   Joel Maxwell Certificate of Authenticity
436H   New Leaf Landscape Certificate of Authenticity

                                                   20
   Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 21 of 23 PageID# 3088



 Ex.
                                      Description                                  Obj. Off’d Adm.
 No.
 436I   Moody & Associates Certificate of Authenticity
436J    SP&C Home Improvement Certificate of Authenticity
436K    SunTrust Certificate of Authenticity
436L    Cyprus Incorporation Documents (66A) Certificate of Authenticity
436M    Eurobank Documents (66B) Certificate of Authenticity
436N    Hellenic Bank Documents (66C) Certificate of Authenticity
436O    Bank of Cyprus (66D) Certificate of Authenticity
436P    Bank of Cyprus (66E) Certificate of Authenticity
436Q    Accounting Records (66F) Certificate of Authenticity
436R    Hellenic Bank (66G) Certificate of Authenticity
436S    St. Vincent and the Grenadines (67A) Certificate of Authenticity
436T    St. Vincent and the Grenadines (67B) Certificate of Authenticity
436U    St. Vincent and the Grenadines (67C) Certificate of Authenticity
 437    2016.11.12 Summerbreeze Loan Memorandum
        2016.12.13 Email Chain D. Raico, P. Manafort, J. Brennan, C. Laporta, T.
438
        Horn re My 2015 Tax Return - FINAL Draft
439     2016.08.04 Email S. Calk to P. Manafort re Stephen Calk-Professional Bio
440     2016.09.25 Email P. Manafort to S. Calk re Monday
        2016.10.07 Email S. Calk to P. Manafort re Closing on Nottingham &
441
        Bridgehampton loans
 442    2016.10.08 Email P. Manafort to S. Calk re sorry I missed you
 443    2016.11.14 Email S. Calk to P. Manafort re
 444    December 11 Conference Call Agenda
 445    R. Gates Agenda
 446    Gates - payments
447A    Actinet BOC Account Documents
447B    Actinet Hellenic Account Documents
447C    Black Sea BOC Account Documents
447D    Bletilla BOC Account Documents
447E    Bletilla Hellenic Account Documents
447F    Global Endeavour Loyal Bank Account Documents
447G    Global Highway BOA Account Documents
447H    Jeunet Loyal Bank Account Documents
 447I   Leviathan BOC Account Documents
447J    LOAV BOC Account Documents
447K    Lucicle BOC Account Documents
447L    Lucicle Hellenic Statements
447M    Marziola Hellenic and BOC Account Documents
447N    Olivenia Hellenic and BOC Account Documents
447O    Peranova BOC Account Documents


                                                    21
   Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 22 of 23 PageID# 3089



 Ex.
                                         Description                                    Obj. Off’d Adm.
 No.
447P     Serangon BOC Account Documents
447Q     Yiakora BOC Account Documents
 448     Email Stipulation
 449     FDIC Stipulation
 450     Financial Records Stipulation
         Business Records of Bookkeeping and Tax Preparation Services
451      Stipulation


             The government further respectfully requests leave of the Court to file additional exhibits

      if necessary.


                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER, III
                                                   Special Counsel



                                           By:            /s/
      Uzo Asonye                                   Andrew Weissmann
      Assistant United States Attorney             Greg D. Andres
      Eastern District of Virginia                 Brandon L. Van Grack
                                                   Special Assistant United States Attorneys
                                                   Special Counsel’s Office
                                                   U.S. Department of Justice
                                                   950 Pennsylvania Ave., NW
                                                   Washington, DC 20530
                                                   Telephone: (202) 616-0800




                                                       22
Case 1:18-cr-00083-TSE Document 189 Filed 07/31/18 Page 23 of 23 PageID# 3090



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of July, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                      /s/ Uzo Asonye
                                                      Uzo Asonye
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      Eastern District of Virginia
                                                      2100 Jamieson Avenue
                                                      Alexandria, VA 22314
                                                      uzo.asonye@usdoj.gov
                                                      Phone: (703) 299-3700
                                                      Fax: (703) 299-3981

                                                      Attorney for the United States of America




                                                 23
